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Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      GAURINO DEFENDANTS’
EDMON KELLER AND CLEAVETTE )               JOINDER TO DEFENDANTS
MAE STANLEY FAMILY TRUST;           )      FIDELITY NATIONAL TITLE
CRAIG B. STANLEY, individually;     )      & ESCROW OF HAWAI‘I , INC.
MILLICENT ANDRADE, individually, )         AND ROMMEL GUZMAN’S
                                    )      MOTION FOR SUMMARY
                   Plaintiffs,      )      JUDGMENT ON ALL CLAIMS
                                    )      ASSERTED BY PLAINTIFFS
            vs.                     )      AGAINST FIDELITY AND
                                    )      GUZMAN IN THE FIRST
ABNER GAURINO, AURORA               )      AMENDED COMPLAINT [#30],
GAURINO, ABIGAIL GAURINO,           )      FILED ON 5/8/17
INVESTORS FUNDING                   )
CORPORATION, as Trustee for an      )       (caption continued on next page)
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unrecorded Loan Participation            )    DATE:
Agreement dated June 30, 2014; APT-      )    TIME:
320, LLC, a Hawai‘i Limited Liability    )    JUDGE: Michael J. Seabright
Company, CRISTETA C. OWAN, an            )
individual; ROMMEL GUZMAN;               )    TRIAL DATE: March 27, 2018
FIDELITY NATIONAL TITLE &                )
ESCROW OF HAWAI‘I and DOES 1-            )
100 Inclusive,                           )
                                         )
                   Defendants.           )
                                         )

      GAURINO DEFENDANTS’ JOINDER TO DEFENDANTS
  FIDELITY NATIONAL TITLE & ESCROW OF HAWAI‘I, INC. AND
 ROMMEL GUZMAN’S MOTION FOR SUMMARY JUDGMENT ON ALL
   CLAIMS ASSERTED BY PLAINTIFFS AGAINST FIDELITY AND
  GUZMAN IN THE FIRST AMENDED COMPLAINT [#30], FILED ON
                          5/8/17

      COME NOW Defendants Abner Gaurino, Aurora Gaurino and Abigail
Gaurino (“Gaurino Defendants”) by and through their attorneys, John R. Remis,
Jr. and Robert D. Eheler, Jr. and hereby submit their Joinder to Defendants
Fidelity National Title & Escrow of Hawai‘i, Inc. and Rommel Guzman’s Motion
for Summary Judgment on all Claims Asserted by Plaintiffs against Fidelity and
Guzman in the First Amended Complaint [#30], filed on 5/8/17.
      In joining said Motion, the Gaurino Defendants seek a determination by this
Court that Plaintiffs Craig B. Stanley, as Trustee for the Edmon Keller and
Cleavette Mae Stanley Family Trust; Craig B. Stanley, Individually and Millicent
Andrade, Individually have no standing and fail to state a claim against the
Gaurino Defendants as alleged in Plaintiffs’ First Amended Complaint [#30].




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      This Joinder is made pursuant to Rule 7 of the Federal Rules of Civil
Procedure, and Local Rule 7.9 and the Order Granting the Gaurino Defendants
Motion [184]for Leave to File Joinder to Defendants Fidelity National Title &
Escrow of Hawai‘i , Inc. and Rommel Guzmans Motion for Summary Judgment
[186]. This Joinder adopts the law and arguments presented by Movant’s Motion
for Summary Judgment [166] as applicable to the Gaurino Defendants on the issue
of standing and failure to state a claim, the Declaration of Counsel therein and the
Exhibits, records and files herein as well as any evidence which may be adduced at
the hearing on this motion.
      DATED: Honolulu, Hawai‘i, November 7, 2017.



                                               /s/ JOHN R. REMIS, JR.
                                              JOHN R. REMIS, JR.
                                              ROBERT D. EHELER, JR.
                                              Attorneys for Gaurino Defendants




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